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                IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                        WESTERN DISTRICT OF OKLAHOMA

In Re:                                               )
                                                     )
MICHAEL JOHN MOHR                                    )        Bk. No.
CHRYSTAL RENE MOHR                                   )        Chapter 13
                  Debtor(s)                          )

                                          CHAPTER 13 PLAN

         COMES NOW, the Debtors, Michael John Mohr and Chrystal Rene Mohr (hereinafter “Debtors’)
in the above bankruptcy proceeding and pursuant to the 1322 of Title 11, United State (the “Bankruptcy
Code”), propose the following plan:

I        Plan Funding

          Pursuant to 1325 9b) (1) of the Bankruptcy Code, the Debtors shall submit and pay to the Trustee
their disposable income for a period of 60 months, under the following payment schedule.

II       Plan Duration and Payments

         Debtor shall make payments of $3,813.00 for duration of the 60 month plan.

         III       Treatment of Claims

                                              Priority Claims
                        Claims entitled to priority 507 of the U.S. Bankruptcy Code

Creditor                             Amount Owed                         Repayment Plan
Attorney Fees                        $3,500.00                           Prorated
Internal Revenue Services            $31,028.00                          Prorated
Oklahoma Tax Commission              $1,564.00                           Prorated


                                           Mortgage Claims
Creditor              Collateral          Payment   Arrearage         % Rate Claim of Treatment
PHH Mortgage          1st Mortgage:       $2,029.84 $19,369.58        2.1250% Ongoing mortgage and
Services              Homestead: 3905                                         arrearage to be paid
Merrill Lynch         N Creek Bank Rd                                         through the plan.
                      Edmond, OK
Bank of America       2nd Mortgage:       $494.25        $2,948.56    4.750%       Ongoing mortgage and
                      3905 N Creek                                                 arrearage to be paid
                      Bank Rd Edmond,                                              through the plan.
                      OK


                                             Secured Claims
Creditor              Collateral            Claim Amount          Interest Rate         Payment
Toyota Financial      2011 4Runner          $1,279.73                                   Pay outside the
Services                                                                                plan.
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Unsecured Claims

         Unsecured creditors, timely filing a valid Proof of Claim will be paid a base amount of the
outstanding balance owed.

IV      Liquidation Analysis
        The monies distributed under the plan to creditors with an allowed claim, will be paid no less than
the amount that would be paid on such claim if the Debtor(s) estate were in a Chapter 7 proceeding.


         1.       Plan Confirmation

                          As stated in the Order and Notice of Meeting of Creditors, this plan may be
                  confirmed immediately following the §341 meeting of creditors.

         2.       Reinvestment of Property in the Debtors

                           Pursuant to §1327 (b) of the Bankruptcy Code, upon confirmation, all property
                  shall remain property of the estate and shall not reinvest in the Debtor(s) until the
                  Debtor(s) has/have received a discharge of all debts as provided for in the Plan.

         3.       Executory Contracts

                           Any contracts not specifically assumed herein are hereby rejects

         4.       Effective Date

                          The Effective date of the Plan shall be the date of the entry of the Order
                  Confirming the Plan.

         5.       Claims

                           Creditor failing to timely file a proof of claim will receive no distribution under
                  the Plan, and those debts will be discharged

         6.       Discharge

                          Upon completion of his Plan, the Debtor(s) will be discharged from all debts
                  provided for unless otherwise specified herein, pursuant to §1325 of the Bankruptcy
                  Code.



         /s/ Kenneth L. Spears                         /s/Michael John Mohr
         __________________________                    _________________________________
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